54 F.3d 769
    John P. Mosconyv.Federal Bureau of Investigation, Federal Bureau of Prisons,Patricia Williams, M.D., Nina Spadara, Psychologist, DennisP. Becotte, Ph.D., A. Blanco, Health Services Administrator,Kevin J. O'Brien, FBI Chief of FOIA Section, Office of U.S.Attorney General, U.S. Marshal Service
    NO. 95-5038
    United States Court of Appeals,Third Circuit.
    Apr 17, 1995
    
      Appeal From:  D.N.J., No. 93-cv-02064,
      Rodriguez, J.
    
    
      1
      AFFIRMED.
    
    